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 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                              CASE NO. 1:15-cr-00092 LJO-SKO
12                                 Plaintiff,               STIPULATION TO CONTINUE
                                                            STATUS CONFERENCE; FINDINGS
13   v.                                                     AND ORDER
14   CORNELIO ROJAS,                                        DATE: May 18, 2015
                                                            TIME: 1:00 p.m.
15                                 Defendant.               JUDGE: Hon. Sheila K. Oberto
16

17                                              STIPULATION
18          The United States of America, by and through its counsel of record, and defendant, by and
19
     through his counsel of record, hereby stipulate as follows:
20
            1.      By previous order, this matter was set for status before the Court on April 20, 2015 at
21
     1:00 p.m. Time was excluded under the Speedy Trial Act through April 20, 2015 by agreement of
22

23 the parties, and with appropriate Court findings, based in part on the need to review the expected

24 high volume of discovery.

25          2.      After the status conference was set, the Court notified the parties that it would not, in
26 fact, be in session on April 20, 2015, and requested that the parties reset the status conference to a

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     mutually agreeable date.
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            3.      By this stipulation, defendant now moves to continue the status conference until May
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     18, 2015 at 1:00 p.m. before Judge Oberto, and to exclude time between the date of this stipulation
 2

 3 and May 18, 2015 under 18 U.S.C. §§ 3161(h)(7)(A) and 3161(h)(7)(B)(i) and (iv). The government

 4 joins in this request so that the status conferences of five other co-defendants can be heard at the

 5 same time on May 18, 2015.

 6
            4.      The parties agree and stipulate, and request that the Court find the following:
 7
            a.      The government has represented that the forthcoming discovery associated with this
 8
     case will be voluminous, including over 100,000 allegedly counterfeit items, investigative reports
 9

10 and related documents. All of this discovery will either be produced directly to counsel and/or made

11 available for inspection and copying.

12          b.      Counsel for defendant Cornelio Rojas desires additional time in preparation of this
13 case. Defense counsel needs additional time to conduct investigation, review voluminous discovery

14
     and communicate with the government regarding the case. Additionally, the May 18, 2015 date was
15
     selected to coincide with the status conference of five other co-defendants in the case. Thus, the
16
     requested continuance will conserve time and resources for the parties and the court.
17

18          c.      Counsel for defendant believes that failure to grant the above-requested continuance

19 would deny them the reasonable time necessary for effective preparation, taking into account the
20 exercise of due diligence.

21
            d.      The government joins in the request for the continuance.
22
            e.      Based on the above-stated findings, the ends of justice served by continuing the case
23
     as requested outweigh the interest of the public and the defendant in a trial within the original date
24
     prescribed by the Speedy Trial Act.
25
26          f.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et

27 seq., within which trial must commence, the time period of the date of this stipulation to May 18,

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     2015, inclusive, is deemed excludable pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and 3161(h)(7)(B)(i)
 1
     and (iv) because it results from a continuance granted by the Court at defendant’s request on the
 2

 3 basis of the Court's finding that the ends of justice served by taking such action outweigh the best

 4 interest of the public and the defendant in a speedy trial.

 5          5.      Nothing in this stipulation and order shall preclude a finding that other provisions of
 6
     the Speedy Trial Act dictate that additional time periods are excludable from the period within which
 7
     a trial must commence.
 8
 9

10 IT IS SO STIPULATED.

11 DATED:           April 8, 2015

12
                                           /s/Roger Bonakdar
13                                         ROGER BONAKDAR
                                           Counsel for Defendant
14                                         CORNELIO ROJAS

15
     DATED:         April 8, 2015
16

17                                         /s/ Henry Z. Carbajal III
                                           HENRY Z. CARBAJAL III
18                                         Assistant United States Attorney

19
                                                  ORDER
20

21          The time period of the present date through May 18, 2015, inclusive, is excluded pursuant to

22 18 U.S.C. § 3161(h)(7)(A), & B(i), (iv), because it results from a continuance granted by the Court

23 at defendant’s request and the ends of justice served by the time exclusion outweigh the best interest

24 of the public and the defendant in a speedy trial.

25
     IT IS SO ORDERED.
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        Dated:     April 10, 2015                                 /s/ Sheila K. Oberto
27                                                      UNITED STATES MAGISTRATE JUDGE
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